Case 1:19-cv-00104-RBW Document 30 Filed 02/04/21 Page 1 of 11




                                                    LEAVE TO FILE GRANTED.
                                                    /s/ Reggie B. Walton
                                                    United States District Judge
                                                    February 4, 2021
Case 1:19-cv-00104-RBW Document 30 Filed 02/04/21 Page 2 of 11
Case 1:19-cv-00104-RBW Document 30 Filed 02/04/21 Page 3 of 11
Case 1:19-cv-00104-RBW Document 30 Filed 02/04/21 Page 4 of 11
Case 1:19-cv-00104-RBW Document 30 Filed 02/04/21 Page 5 of 11
Case 1:19-cv-00104-RBW Document 30 Filed 02/04/21 Page 6 of 11
Case 1:19-cv-00104-RBW Document 30 Filed 02/04/21 Page 7 of 11
Case 1:19-cv-00104-RBW Document 30 Filed 02/04/21 Page 8 of 11
Case 1:19-cv-00104-RBW Document 30 Filed 02/04/21 Page 9 of 11
Case 1:19-cv-00104-RBW Document 30 Filed 02/04/21 Page 10 of 11
Case 1:19-cv-00104-RBW Document 30 Filed 02/04/21 Page 11 of 11
